      Case 4:05-cr-00454-CW          Document 76            Filed 01/31/06                             Page 1 of 1


   V.ROY LEFCOURT (SBN 49950)
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 2 (415) 776-0207

 3 Attorney for Defendant
   FRANCES ALIGANGA
 4

 5                                  UNITED STATES OF AMERICA
 6                             NORTHERN DISTRICT OF CALIFORNIA

 7                                        OAKLAND DIVISION

 8

 9 UNITED STATES OF AMERICA,                      ) No.: CR05-00454 CW
                                                  )
10          Plaintiff,                            )
                                                  ) ORDER TO RECONVEY
11     v.                                         ) REAL PROPERTY
                                                  )
12
     FRANCES ALIGANGA,                            )
13                                                )
            Defendant.                            )
14                                                )
15 Equity in real property located at: 1221 Humphrey Drive, Suisun, CA 94585 was deposited in lieu

16 of bail in the above entitled action by Deed of Trust recorded on August 5, 2005 by the recorder
   for the County of Solano.
17
   Bail deposited has been exonerated by operation of law/Order of Court and Clerk, United States
18 District Court, Northern District, State of California as beneficiary having no further claim to said
   property.
19

20 IT IS HEREIN ORDERED THAT

21 Trustors Security Service as Trustee securing a personal surety bond to the Clerk, United States
   District Court, Northern District, State of California, shall reconvey said real property.
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23 Patrick and Rochelle Siu, Trustor.
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     DATED: January 31, 2006                                   R
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                                                  US MAGISTRATE JUDGE WAYNE D. BRAZIL
